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1                                                            The Honorable Richard A. Jones
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6
                             UNITED STATES DISTRICT COURT
7                           WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
8

9     UNITED STATES OF AMERICA,
                                                     Case No. CR14-165RAJ
10                                Plaintiff,
11                                                   ORDER AUTHORIZING SEALING
      v.                                             OF COMPETENCY EVALUATION
12
      JERRY DELMAN,
13

14                                Defendant.
15
               THIS MATTER comes before the court on Defendant Jerry Delman’s Motion
16
     for Order Authorizing Sealing of Competency Evaluation. Having considered the
17
     motion and the files and pleadings herein, and finding good cause,
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19             It is ORDERED that the Defendant’s Motion to Seal (Dkt. #245) is GRANTED
20   and the competency evaluation of Jerry Delman filed under Dkt. #246 shall remain
21
     sealed.
22
               DATED this 21st day of April, 2016.
23

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25
                                                       A
26
                                                       The Honorable Richard A. Jones
                                                       United States District Judge


     _____________________________________________________________             LAW OFFICES OF
     ORDER AUTHORIZING SEAL OF COMPETENCY EVALUATION - 1                     RESSLER & TESH
                                                                              PENTHOUSE SUITE
                                                                             821 SECOND AVENUE
                                                                             SEATTLE, WA 98104
                                                                               (206)388-0333
